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                             UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF ARIZONA
10

11
     MICHAEL J. BROSNAHAN,                           No. 3:16-cv-08277- DLR
12

13                        Plaintiff,
                                                     DEFENDANTS CALIBER HOME
14          v.                                       LOANS, INC., LSF9 MASTER
                                                     PARTICIPATION TRUST, AND
15                                                   SUMMIT SERVICE AND REALTY
     CALIBER HOME LOANS, INC., LSF9                  LLC’S REPLY IN FURTHER
16                                                   SUPPORT OF ITS MOTION TO
     MASTER PARTICIPATION TRUST, and
     SUMMIT SERVICE AND REALTY LLC                   DISMISS PLAINTIFF’S SECOND
17                                                   AMENDED COMPLAINT
18                        Defendants.                (Honorable Douglas L. Rayes)
19

20

21

22          For over eight years, Plaintiff Michael J. Brosnahan has not made his mortgage
23   payments. Plaintiff does not dispute that he is in default of his loan obligations either.
24   Nevertheless, he has filed this suit (and an earlier lawsuit) to stop any foreclosure action
25   on the collateral property, and he has asserted a series of violations under various federal
26   laws—without stating any facts or alleging any tenable claim for relief against Caliber.
27   As a result, the Second Amended Complaint (“SAC”) has failed to perform the essential
28   functions of a complaint, and Plaintiff’s claims must be dismissed with prejudice.
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 1           Last November, this Court clarified that “mortgagees and their beneficiaries,
 2   including mortgage servicing companies, are not debt collectors subject to the FDCPA.”
 3   [Doc. 7 (11/23/2016 Order), at 4 (quoting Mansour, Mansour v. Cal-Western
 4   Reconveyance Corp., 618 F. Supp. 2d 1178, 1182 (D. Ariz. 2009)] Yet, Plaintiff’s SAC
 5   and Response to Defendants Caliber Home Loans, Inc., LSF9 Master Participation Trust,
 6   and Summit Service and Realty LLC’s (collectively “Caliber”) 1 Motion to Dismiss
 7   Plaintiff’s Second Amended Complaint (“Response”) ignores this legal conclusion and
 8   repeats more of the same flawed arguments under the FDCPA. [Doc. 24 (SAC), Doc. 26
 9   (Response)] These filings attempt similarly flawed legal arguments arising under TILA
10   and RESPA. [Id.] None of these arguments afford Plaintiff any type of legal recovery
11   from Caliber. This is yet another desperate attempt to suggest there is some technicality
12   that will allow Plaintiff to keep his property, without having to satisfy his mortgage
13   obligations.
14           Both Plaintiff’s Response and the SAC are composed entirely of conclusory
15   allegations that fail to state a plausible claim for relief. [See Doc. 7 (11/23/17 Order) at 4,
16   Doc. 24 (SAC), Doc. 26 (Response)] As a result, both the Response and the SAC rest on
17   errors of law that cannot be rectified. The SAC contains no well-pleaded facts, fails to
18   state any tenable claim for relief, and must be dismissed. Further, this Court should not
19   allow Plaintiff to file a third amended complaint and should dismiss this action with
20   prejudice because Plaintiff’s claims are fatally flawed and cannot be salvaged by any
21   amendment.
22           In addition to listing a series of federal statutes—without explaining how these
23   statutes would apply to the situation at hand—the Response lists a series of “facts,” which
24   once again amount only to legal conclusions without actual facts demonstrating any legal
25   justification for relief. [See Dkt. 26, Response, at 4-9] Truly, the only facts that have
26   been presented in this case are:
27   1
       The Second Amended Complaint (“SAC”) makes no effort to separate the Defendant
28   entities or their conduct.

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 1               • In 2006, Plaintiff borrowed $373,500.00 for a home loan. [Doc. 23 (9/19/17
 2                   Order) at 1]
 3               • Simultaneously, Plaintiff executed a deed of trust securing repayment of the
 4                   loan using the Property as collateral. [Id.]
 5               • In 2009, Plaintiff stopped making payments on the loan. [Id.]
 6               • Plaintiff continues to possess the collateral. [Doc. 26 (Response) at 4 ¶ 1]
 7            These are not facts that demonstrate Plaintiff is entitled to any relief.
 8            Finally, Plaintiff argues [at 15] that Caliber is “acting with impunity,” but the
 9   reality is that Plaintiff entered into a contract for a loan, offering his property as collateral
10   to secure that loan. Plaintiff admittedly stopped making payments on that loan nearly nine
11   years ago, but still is fighting to hold on to the collateral without making any effort to
12   repay the loan. It would appear that the party acting with impunity up until this point is,
13   in fact, Plaintiff. Enough is enough.
14                                               Argument
15   I.       VIEWED IN THE LIGHT MOST FAVORABLE TO PLAINTIFF, THE SAC
              CONTINUES TO BE DEVOID OF FACTS ENTITLING PLAINTIFF TO
16            RELIEF.
17            While the Rules of Civil Procedure (“Rules”) permit a liberal pleading standard
18   that requires only a “short and plain statement of the claim showing that the pleader is
19   entitled to relief,” Fed. R. Civ. P. 8(a)(2), the pleader must nonetheless demonstrate why
20   relief is legally warranted and the pleading must contain factual allegations sufficient to
21   raise that right to relief above the “speculative level.” Bell Atl. Corp. v. Twombly, 550
22   U.S. 544, 555 (2007). The Rules demand “more than an unadorned, the-defendant-
23   unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A
24   plaintiff must demonstrate that his claim is plausible on its face. Id. A plaintiff armed
25   with nothing more than conclusions in his complaint is not entitled to discovery, and the
26   complaint should not survive a motion to dismiss. Id. at 678-79. This principle is true
27   even when the plaintiff is proceeding pro se. See, e.g., Ticktin v. C.I.A., No. CV-08-998-
28   PHX-MHM, 2009 WL 976517, at *4 (D. Ariz. Apr. 9, 2009).

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 1          Both the SAC and the Response to Defendants’ Motion to Dismiss the SAC offer
 2   only speculative and conclusory arguments, misapplied extracts of statutory language, and
 3   unadorned “the-defendant-unlawfully-harmed-me” accusations that do not justify survival
 4   past this Motion to Dismiss. [See generally Doc. 24, SAC; Doc. 26, Response]
 5          Indeed, as the Court noted in its September 19th Order granting Caliber’s first
 6   Motion to Dismiss, “[o]ne of the primary functions of a complaint is to provide
 7   defendants with notice of the legal claims asserted against them and the factual bases for
 8   those claims.” [Doc. 23, 9/19/18 Order, at 3 (citing McHenry v. Renne, 84 F.3d 1172,
 9   1178 (9th Cir. 1996))] “A complaint written ‘without simplicity, conciseness and clarity’
10   as to who is being sued and for what, ‘fails to perform the essential functions of a
11   complaint.’” [Id. (quoting McHenry, 84 F.3d at 1180)]
12          Plaintiff has failed to meet this burden of providing notice with a simple, concise,
13   and clear statement of facts that entitle Plaintiff to relief. Plaintiff has failed to put
14   Defendants on notice of the legal claims asserted against them and the factual bases that
15   allegedly support each of those claims. In sum, the SAC offers no well-pleaded facts and
16   no simple, direct, or concise allegations. The Response makes no attempt to state facts
17   supportive of any claim without relying on unsupported speculation and conclusory
18   allegations.   [Doc. 26, Response, at 4-9]        In fact, the Response further convolutes
19   Plaintiff’s arguments by listing “objections” as facts and lodging accusations of
20   misconduct without ever articulating facts that would establish any grounds for recovery
21   under the numerous federal statutes listed. After two rounds of briefing on this matter, it
22   is less clear now than ever what Plaintiff’s claims are and the factual bases that would
23   support those claims. The SAC falls far short of the Rules’ pleading requirements, and
24   must be dismissed for this independent reason.
25
     II.    PLAINTIFF HAS FAILED TO STATE ANY CLAIMS THAT WOULD
26          ENTITLE HIM TO RELIEF.

27          The SAC raises claims that: (1) Caliber did not meet conditions precedent of the
28   loan documents (Count I); (2) arise under the Real Estate Settlement Procedures Act

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 1   (“RESPA”) (Count II); (3) arise under the Truth in Lending Act (“TILA”) (Count III); (4)
 2   arise under the Fair Debt Collection Practices Act (“FDCPA”) (Count IV). [Doc. 24]
 3   Plaintiff’s Response to Defendants’ Motion to Dismiss does not attempt to explain why or
 4   what facts would justify recovery under any of these claims. [Compare Doc. 24 (SAC),
 5   with Doc. 26 (Response)]       The SAC is essentially Plaintiff’s list of grievances and
 6   speculations. It does not clarify any ambiguities contained in the SAC, and it does not
 7   address the shortcomings of the SAC addressed in Caliber’s prior Motion to Dismiss. In
 8   addition to again failing procedurally, the SAC and Plaintiff’s Response to this motion
 9   again fail substantively to lay out facts supporting any of the alleged legal claims.
10          A.     Plaintiff Fails to State a Claim that the Conditions Precedent were
                   Unmet (COUNT I).
11          The SAC outlines three separate conditions precedent that the loan documents
12   supposedly required prior to initiating foreclosure. [Doc. 24 (SAC), at ¶¶ 108-122] This
13   claim goes essentially unaddressed in the Response, providing only a single conclusory
14   statement that “Defendants failed to meet Conditions Precedent pursuant to the DOT.”
15   [See Doc. 26 (Response), at 8, ¶ 29] As discussed above and previously, such a legal
16   conclusion, without providing facts supporting the plausibility of the claim, need not be
17   accepted as true in a motion to dismiss. See Bell Atl. Corp. v. Twombly, 550 U.S. 544,
18   555 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009).
19          Thus, for the reasons explained in Caliber’s Motion, this claim fails to state a claim

20   upon which relief may be granted and must be dismissed with prejudice. [Doc. 25

21   (Motion), at 7-9]

22          B.     Plaintiff Fails to State a Claim under RESPA (COUNT II).
23          In the SAC, Plaintiff next claims that Caliber is liable for violations under the Real

24   Estate Settlement Procedures Act (“RESPA”), pursuant to 12 U.S.C. § 2605. [Doc. 24

25   (SAC) at ¶¶ 123-126] RESPA provides that when a borrower contacts a loan servicer

26   with a qualified written request regarding the servicing of the loan, the servicer must

27   “provide the borrower with a written explanation or clarification that includes . . .

28   information requested by the borrower [and] the name and telephone number of an

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 1   individual employed by, or the officer or department of, the servicer who can provide
 2   assistance to the borrower.” 12 U.S.C. § 2605(e). A qualified written request must
 3   include the borrower’s information and a statement of the reasons the account is believed
 4   to be in error. Id. A qualified written request “is one that relates to the servicing of the
 5   loan.” Brabant v. JP Morgan Chase Bank, CV 11-00848-TUC-JGZ, 2012 WL 2572281,
 6   at *9 (D. Ariz. July 2, 2012) (citing Consumer Sols. REO v. Hillery, 685 F. Supp. 2d 1002,
 7   1014 (N.D. Cal. 2009)).
 8          The SAC included no factual basis or support for this claim, and again was not
 9   supplemented in the Response. [See Doc. 24 (SAC), at ¶¶ 123-126; Doc. 26 (Response),
10   at 8, ¶ 26] The documents Plaintiff attached to the SAC demonstrate two things: (1) that
11   Plaintiff’s inquiries are not the kind of inquiries that constitute a “Qualified Written
12   Request” under RESPA because they do not address or question the servicing of the loan,
13   and (2) that the lender replied to Plaintiff’s requests for information. [See Doc. 24 (SAC),
14   at Ex. 7 (letter from Plaintiff to Caliber, dated June 27, 2016); Id. at ¶¶ 83-84] Neither the
15   SAC, nor the Response, attempt to explain or establish how any response from the lender
16   was deficient or how Plaintiff’s original requests qualify for protection under RESPA.
17   [See Doc. 24 (SAC), at ¶¶ 123-126; Doc. 26 (Response), at 8, ¶ 26] Plaintiff merely
18   offers the conclusion that the lender did not respond in a timely manner and “attempted to
19   mislead” Plaintiff in its response, without providing or quoting the response, describing
20   how it was deficient, or describing what was supposedly misleading about the response.
21   [Doc. 26 (Response), at 8, ¶ 26] This conclusion is not sufficient to plead a plausible
22   claim for relief under Plaintiff’s RESPA claim and Count II must also be dismissed with
23   prejudice.
24          C.     Plaintiff Fails to State a Claim under TILA (COUNT III).
25          In the SAC, Plaintiff next claims that Caliber is liable for violating the Truth In
26   Lending Act (“TILA”), pursuant to 15 U.S.C. § 1635. [Doc. 24 (SAC) at ¶¶ 127-139]
27   There are no factual allegations in the SAC or added in the Response, which if proven true,
28   could establish any Defendant’s liability under TILA. This claim cannot survive a motion

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 1   to dismiss because it lacks any well-pled facts and only offers conclusory statements in
 2   support of the claim.
 3          TILA requires lenders to make certain specific disclosures of information in certain
 4   approved formats before the loan is consummated. See U.S.C. § 1601, et seq. Caliber
 5   was not involved in originating Plaintiff’s 2006 loan—it had no involvement until 2016.
 6   Thus, to survive a motion to dismiss, Plaintiff would have to allege specific facts showing
 7   how his original lender failed to make the adequate disclosures required by the statute
 8   before the loan was made, and establishing some basis by which Caliber could be held
 9   liable for such a failure. Neither the SAC, nor the Response have met this standard.
10          As for civil damages claims against a subsequent assignee of a loan secured by real
11   property, TILA expressly provides that such a claim “may be maintained against any
12   assignee of such [original] creditor only if—(A) the violation for which such action or
13   proceeding is brought is apparent on the face of the disclosure statement provided in
14   connection with such transaction pursuant to this subchapter . . . .”            15 U.S.C.
15   § 1641(e)(1). Plaintiff has not pleaded any facts establishing that any alleged TILA
16   violation was “apparent on the face of the disclosure statement” that was provided to
17   Plaintiff when the loan was initially made in May 2006.
18          Further, even if Caliber had been involved in originating Plaintiffs’ loans, the time
19   in which to bring such an action has run. The statute of limitations for a civil damages
20   claim under TILA is only one year. Id. § 1640(e). Since the loan was made in 2006, this
21   limitations period has long since run. The right to rescind a transaction under TILA
22   expires three years after the date of consummation of the transaction. Id. § 1635(f).
23   Plaintiff does not challenge the validity or completeness of the disclosures he agreed to in
24   2006—either in the right to cancel letter he purportedly sent in 2009 or in the SAC—
25   rather his letter claims that he did not receive complete documents, without explaining
26   what was incomplete about the disclosures he signed. [Doc. 24 (SAC), at Ex. 4] The
27   SAC also makes no attempt to describe any insufficiency in the loan’s TILA disclosures.
28   [Id. (SAC) at ¶¶ 127-139 & Ex. 4]

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 1          Plaintiff consummated the loan in May 2006.             This suit was not filed until
 2   November 2016—more than a decade later. Plaintiff also still possesses the collateral that
 3   is the Property at issue here. Any claim for rescission under TILA is time-barred, and any
 4   claim for civil damages under TILA is baseless, based on the content of the purported
 5   right to cancel letter and the facts alleged in the SAC. Plaintiff has not met his burden of
 6   pleading a plausible claim for relief under TILA, and this count must also be dismissed
 7   with prejudice.
 8          D.     Plaintiff Fails to State a Claim under the FDCPA (COUNT IV).

 9          Plaintiff has not and cannot plead a claim for relief arising under the FDCPA, 15
10   U.S.C. § 1692e. [Doc. 24 (SAC), at ¶¶ 140-161 (listing a series of legal conclusions about
11   the FDCPA, without alleging any non-conclusory facts)] The SAC does not contain well-
12   plead facts that support this failed legal claim, and the Response does nothing to rectify
13   the SAC’s failings. [Doc. 16 (Response), at 8 ¶ 27, 11 ¶¶ 41-42, 12 ¶¶ 44-45, 13 ¶ 47, 14
14   ¶ 49, 15 ¶¶ 53-56 (providing legal conclusions on the meaning of the FDCPA, without
15   providing facts to support these legal conclusions)] This claim is not legally valid under
16   the circumstances, nor does it entitle Plaintiff to any type of relief.
17                 1.      Defendants are not “debt collectors” as defined by the FDCPA.

18          As this Court previously stated, “[t]o the extent Brosnahan’s complaint is based on
19   actions taken by Defendants to facilitate the non-judicial foreclosure of the Property, these
20   actions do not qualify as debt collection within the meaning of the FDCPA.” [Doc. 7
21   (11/23/2016 Order), at 5]; see also Ho v. ReconTrust Co., NA, 840 F.3d 618, 621 (9th Cir.
22   2016) (“actions taken to facilitate a non-judicial foreclosure, such as sending the notice of
23   default and notice of sale, are not attempts to collect ‘debt’ as the term is defined by the
24   FDCPA”). “The object of a nonjudicial foreclosure is to retake and resell the security, not
25   to collect money from the borrower.” Ho, 840 F.3d at 621. “Foreclosing on a trust deed
26   is an entirely different path than collecting funds from a debtor.” Id.
27          Because Defendants’ actions here were to notice a Trustee’s Sale commencing a
28   nonjudicial foreclosure—which is not an attempt to collect on a debt but rather is the

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 1   process of vesting and divesting of title to real property according to the parties’ prior
 2   agreement under the deed of trust—this action is not an attempt to collect a “debt” as that
 3   term is defined by the FDCPA, and Defendants are not “debt collectors” as defined by the

 4   FDCPA. See id. at 621. Plaintiff does not even attempt to respond to this critical point,

 5   which by itself is fatal to the SAC’s FDCPA claims.

 6                 2.     Defendants’ communications to Plaintiff do not violate the
                          FDCPA or provide Plaintiff grounds for relief.
 7
            Plaintiff points to communications from Defendants and asserts that his receipt of
 8
     communications from Defendants violates the FDCPA. [See, e.g., Doc. 26 (Response), at
 9   8 ¶ 27] This argument is similarly misplaced, and fails to establish that Defendants are
10   “debt collectors” under the FDCPA.       “Enforcement of a security interest will often
11   involve communications between the forecloser and the consumer.               When these
12   communications are limited to the foreclosure process, they do not transform foreclosure
13   into debt collection.” Ho, 840 F.3d at 623. Notices in a foreclosure informing the
14   borrower that the foreclosure process has begun, explaining the foreclosure timeline,
15   educating the borrower about the borrower’s rights are notices designed to protect the
16   borrower.     Id.   Such communications are vastly different from the “harassing

17   communications that the FDCPA was meant to stamp out.” Id. The repossession of a

18   security interest and the nonjudicial foreclosure process requires some communication

19   between the lender and the borrower. Id. at 623. Notice of a foreclosure sale does not

20   constitute debt collection activity under the FDCPA. Id. Even though the prospect of
     having property repossessed may induce a borrower to pay off debt, the inducement exists
21
     by virtue of the lien, regardless of whether foreclosure proceedings begin. Id. at 621. As
22
     the Ninth Circuit explained, “[t]he fear of having your car impounded may induce you to
23
     pay off a stack of accumulated parking tickets, but that doesn’t make the guy with the tow
24
     truck a debt collector.” Id.
25
            This time, Plaintiff attached several communications to the SAC. [Doc. 14 (SAC),
26
     at Exs. 1-3] These communications were apparently appended to support Plaintiff’s
27
     argument that Caliber is a “debt collector” in this situation because it has noted on
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 1   communications that it is a “debt collector.” As explained above and previously by the
 2   Court, Defendants are not debt collectors under the FDCPA and are not attempting to
 3   collect funds from Plaintiff. [Doc. 7 (11/23/2016 Order), at 5] Here, rather, Caliber is

 4   attempting to recover the property that secures the deed of trust, and as a result

 5   Defendants must provide Plaintiff with some communications related to the foreclosure

 6   for Plaintiff’s own benefit. Plaintiff’s own exhibits demonstrate that the communications

 7   he has received from Caliber were related to the foreclosure or the security interest in
     general, thus these communications do not violate the FDCPA, and Plaintiff has not stated
 8
     a claim for relief by making claims about receiving communications from Defendants.
 9

10                 3.     Forcing mortgage servicers to comply with the FDCPA would
                          create a conflict with state non-judicial foreclosure statutes.
11          Holding trustees liable under the FDCPA for carrying out foreclosures and
12   trustee’s sales “would subject the trustee to obligations that would frustrate their ability to
13   comply with [state] statutes governing non-judicial foreclosure.” Ho, 840 F.3d at 624.
14   The United States Supreme Court has instructed the courts not to interpret the FDCPA in
15   a way that interferes with state law unless Congress clearly intended to displace that state
16   law. See, e.g., Sheriff v. Gillie, 136 S. Ct. 1594, 1602 (2016) (holding that an independent

17   contractor’s communications collecting debts owed to the state of Ohio and printed on

18   state letterhead were not misleading under the FDCPA when Ohio law permitted the

19   independent contractors to use the letterhead).

20          In Arizona, applying the FDCPA to nonjudicial foreclosure actions would frustrate

21   the trustee’s ability to comply with Arizona statutes. For example, the FDCPA prohibits

22   debt collectors from directly communicating with debtors if the debt collector knows that

23   the debtor has legal representation. 15 U.S.C. § 1692c(a)(2). But Arizona law requires

24   the trustee to mail the notice of sale “to each person who, at the time of recording of the

25   notice of sale, appears on the records of the county recorder in the county in which any

26   part of the trust property is situated to have an interest in any of the trust property,”

27   without mention for concern of whether an individual is represented. See A.R.S. § 33-

28   809(B)(2). As an additional example, Arizona law requires the trustee to mail a copy of

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 1   the notice of sale within five days after recording it, pursuant to A.R.S. § 33-809(C), but
 2   compliance with that statutory deadline could be hindered by the disputed debt provisions
 3   of the FDCPA, if it were applied to non-judicial foreclosures. See 15 U.S.C. § 1692g(b).
 4   This further demonstrates the wisdom of the court’s repeated holdings that the FDCPA
 5   simply does not apply to the nonjudicial foreclosure process because it is not the
 6   collection of a “debt.” Plaintiff’s Count IV under the FDCPA must be dismissed.
 7   III.   ADDITIONAL AMENDMENT OF THE SAC WOULD BE FUTILE.
 8          In his Response, Plaintiff requests (at 16) that the Court grant leave to again amend
 9   his Second Amended Complaint.               But Plaintiff was already given more than one
10   opportunity to amend his flawed claims, and no amendment could possibly fix the fatal
11   errors outlined in Defendants’ Motion to Dismiss.             As more fully explained in
12   Defendants’ Motion, no amendment will allow Plaintiff to state any claim based on a
13   violation of RESPA, TILA, or the FDCPA. [Doc. 25 (Motion to Dismiss), at 4-13] No
14   set of facts will allow Plaintiff to state a claim for wrongful foreclosure—to the extent
15   such a claim even exists in Arizona—because Plaintiff cannot allege that he was not in
16   default or is able to tender the full amount due on the note. Plaintiff’s Complaint cannot
17   “possibly be cured by the allegations of other facts,” therefore dismissal with prejudice is
18   appropriate. See, e.g., Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000).
19                                               Conclusion
20          For the foregoing reasons, and because no further amendment would repair
21   Plaintiff’s fatally flawed claims, Defendants respectfully request that the Court dismiss
22   with prejudice all of Plaintiff’s claims.
23

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 1
     Dated: November 21, 2017              PERKINS COIE LLP
 2

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 7                                         and Summit Service and Realty LLC
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 1                               CERTIFICATE OF SERVICE
 2            I hereby certify that on November 21, 2017, I electronically transmitted the
 3   attached documents to the Clerk’s Office using the CM/ECF System for filing.
 4            I also certify that on November 21, 2017, I served a copy of the attached
 5   documents via First Class mail on Plaintiff Pro Se Michael J. Brosnahan, 21
 6   Hummingbird Circle, Sedona, AZ 86336-7012.
 7                                           s/ Susan Carnall
 8   137677348.2


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